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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION

UNITED STATES OF AMERICA, §

§
Plaintiff, §

§ CRIM NO. 4:07-399
v. §

§
RAYMOND MAYES, §

§
Defendant. §

MEMORANDUM AND ORDER

 

Pending before the Court is Defendant’s Motion to Suppress and Motion for
Identiflcation of Confldential Informant. After considering the briefing, the evidence presented
at a hearing on the pending motions, and the relevant law, the Court finds that Defendant’s
Motions, Doc. No. 22 and Doc. No. 32, should be DENIED.

I. BACKGROUND

On July 12, 2007 , Houston Police Departrnent officers Christopher Cayton and William
McPherson obtained a search warrant from Magistrate Eric Hagstette to search a residence at
3314 Drew Street in Houston, Texas. While executing the Drew Street warrant that same day,
Officer McPherson alleges that he saw Defendant start to run towards a back bedroom and throw
a clear plastic baggie to the ground. Officer McPherson arrested Defendant and searched him,
locating a revolver in his back pocket Offlcers later found the plastic baggie that Defendant
allegedly threw to the ground, and it contained large chunks of a white rock substance later
determined to be 263 grams of crack cocaine

A. Affidavit Language

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To secure the search warrant, Officer Cayton executed an affidavit stating that, within 48
hours of the application, a confidential informant (Cl) had conducted a controlled buy at the
Drew Street address In the affidavit, Officer Cayton described the location as follows:

There is in the City of Houston, Harris County, Texas, a suspected place and
premises described and located as follows: 3314 Drew Street, Houston, Harris
County, Texas. Said suspected place is described as: a one-story, wood frame,
single family residence that is white in color. The residence is located on the
south side of Drew Street just east of Tierwester Street. The numbers of the
residence are not visible from the roadway. However your affiant located the
property address utilizing Harris County Appraisal District records Your affiant
attached an appraisal district map . . . to show property location Said suspected
place is the first residence that faces towards the north traveling east from
Tierwester Street.

Said suspected place is in the charge of and controlled by each of the following

named and /or described or suspected parties . . . to wit, an unknown black

male, approximately 20 to 25 years of age, 5’10”-6’0”, and weighing about 225-

250 pounds
(Doc. No. 32, Ex. l, 1111 l, 2.)

Officer Cayton also stated in the affidavit that he had met with a credible and reliable CI
who has “provided narcotics information on at least three prior occasions that was proven to be
true and correct and as a result of the information, officers have recovered narcotics.” (Doc. No.
32, Ex. l, 11 4.) Officer Cayton asserted that he met with the CI, searched him, and, together with
Officer McPherson, took him to the 3300 block of Drew Street. (Ia'.) Officer Cayton states that
the CI conducted a controlled buy at the Drew Street address Officer Cayton asserts that he
personally observed the Cl walk to the residence at 3314 Drew Street. According to the
affidavit, the following events ensued:

The confidential informant knocked on the front door and was met by an

unknown black male, who opened the door. The unknown black male invited the

confidential informant into the residence Once inside the unknown black male

asked the confidential informant what he/she wanted. The confidential informant

told the black male that he/ she wanted a quantity of crack cocaine The
confidential informant gave the uknown [sic] male the U.S. currency. The

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unknown male took a quantity of white rocks from a plastic bag that contained

20-30 more white rocks, and gave them to the confidential informant The

unknown male told the confidential informant to come back at any time for more

crack cocaine

The confidential informant then left the residence and returned directly to me.

The confidential informant gave me the substance sold to the confidential

informant by the listed unknown black male The white rock substance sold by

the unknown male to the confidential informant field-tested positive for cocaine

content when I field-tested it.
(Id-)

Two months earlier, Officer Cayton submitted another affidavit to Magistrate Hagstette
in support of a search warrant to be executed at a different address (2210 Pannell Street). (See
Doc. 32, Ex. 2.) The Pannell Street affidavit contains word-for-word identical paragraphs
describing the party suspected to be in control of the address and the details of the controlled
buy. (Id. at 1]1]2, 4.) Both affidavits include the same misspelling of “unknown” in the same
sentence in paragraph four,

II. ANALYSIS

A. Motion to Suppress

There is a presumption that an affidavit supporting a search warrant is valid. Franks v.
Delaware, 438 U.S. 154, 171 (1978). “A Fourth Amendment violation may be established
where an officer intentionally, or with reckless disregard for the truth, includes a false statement
in a warrant application.” Kohler v. Englade, 470 F,3d 1104, 1113 (5th Cir. 2006) (citing
Franks). “If an allegation of intentional falsity or a reckless disregard for the truth is ‘established
by the defendant by a preponderance of the evidence,’ . . . [the court] must then excise the
offensive language from the affidavit and determine whether the remaining portion would have

established the necessary probable cause.” Um`led States v. Cavazos, 288 F.3d 706, 709-10 (5th

Cir. 2002) (internal quotation marks and citations omitted).

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Defendant argues that Officer Cayton intentionally or recklessly made false statements in
the affidavit he presented in support of the search warrant for the Drew Street address
Defendant claims that much of the affidavit was simply language copied and pasted from the
Parnell Street warrant As a result, Defendant contends that the warrant was not supported by
probable cause Defendant claims that his arrest is invalid, and that the evidence seized from
him should be suppressed because it was obtained in violation of the Fourth and Fourteenth
Amendments to the United States Constitution.

At a hearing on the pending motion, Officer Cayton testified that he typed out each of the
relevant paragraphs in the affidavit that he submitted in support of the Drew Street search
warrant and did not copy and paste the relevant language from the Parnell Street affidavit into
the Drew Street affidavit, Officer Cayton further testified that the affidavit accurately reflects
what he was told by the CI and does not contain any false information Officer Cayton claimed
that it was just a coincidence that the description of the individual and the controlled buy in both
affidavits were exactly the same When questioned about the misspelling of the word
“unknown” in both affidavits, Officer Cayton represented to the Court that he often misspells the
word unknown Officer Cayton’s statement that he just happened to misspell the word
“unknown” in both affidavits in exactly the same location and his other testimony regarding the
similarity in the language of both affidavits is simply not credible The Court believes that
Officer Cayton copied the relevant paragraphs from the Parnell Street affidavit and pasted them
into the Drew Street affidavit,

Given Officer Cayton’s willingness to misrepresent this information while under oath, the
Court has very serious concerns about the credibility of Officer Cayton’s other testimony, as

well. Nonetheless, the Court must consider the possibility that at least some of the facts

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contained in the affidavit reflect what actually occurred during the CI’s alleged controlled buy,
despite the fact that the language used in the affidavit was taken directly from the Parnell Street
affidavit

Officer McPherson corroborated several critical facts included in the affidavit, and
Officer McPherson’s testimony was credible Specifically, Officer McPherson testified that he
accompanied Officer Cayton on the day of the CI’s controlled buy. Officer McPherson
explained that the officers dropped the Cl off near the Drew Street residence and saw him go to
the front door of the house and briefly enter the residence Officer McPherson further testified
that he saw an African American male answer the door, though he could not see the man well
enough to describe him in any further detail Officer McPherson agrees that the CI came directly
back to the officers and told them that he had purchased a quantity of what later proved to be
crack cocaine Officer McPherson admits that he does not remember the details of what the CI
subsequently told the officers about the buy because he was not the case agent, and was focused
more on matters of safety. Officer McPherson did testify, however, that he recalls that the CI
said that he met with an African American male at the Drew Street residence, requested an
amount of crack cocaine, and paid the man at the house for the crack cocaine Officer
McPherson also confirmed that the agents tested the crack cocaine and tagged it at the HPD lab
after the buy.l

In summary, Officer McPherson could not verify that the CI said the African American
male at the Drew Street residence Was 20 to 25 years old, 5’10”-6’0”, and weighing about 225-

250 pounds Nor could he confirm that the CI had seen the man take the crack “from a plastic

 

l Officer McPherson testified that he does not cut and paste information from one affidavit to another because,
although there are often similarities in the drug activities at different locations the differences generally make it
impossible to use the same warrant for different locations Officer McPherson was not involved in the preparation
of the Drew Street affidavit, and could not testify to how Officer Cayton prepared that affidavit

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bag that contained 20-30 more white rocks.” Officer McPherson did confirm, however, that the
officers drove a reliable CI to the Drew Street address, saw him approach the house, and saw an
African American male allow him into the home He also confirmed that the CI returned with
crack cocaine and told the officers he had purchased it from the man in the house

The Government has not presented evidence otherwise corroborating the exact
description of the African-American male or the amount of crack at the house. At the
suppression hearing, Defendant presented evidence demonstrating that neither Defendant nor
several other men found at the Drew Street address matched the description of the man described
in the affidavit as participating in the controlled buy. The Government argues that at least one
man who left the home in a vehicle and was later apprehended did at least come close to
matching the description (Gov’t Ex. 6A). The Government further contends that the affidavit
never purported to describe Defendant and argues that it is perfectly possible that the man
described in the affidavit was not present at the time the search warrant was executed

The Court is offended by what appear to be false representations made by Officer Cayton
under oath. The Court agrees that Defendant has made a substantial showing that Officer Cayton
may have recklessly included language taken straight from the Parnell Street affidavit in the
Drew Street affidavit Even if the Court were to find that certain uncorroborated details taken
from the Parnell Street affidavit were untrue (i.e., the description of the African-American male
and the amount of crack), and were to excise those details from the affidavit, however, the Court
would find that the warrant was supported by probable cause Officer McPherson’s credible
testimony confirms that the officers witnessed a CI make a controlled buy of crack cocaine at the
address described with specificity in the affidavit, An affidavit containing such information is

not a “bare bones” affidavit that “typically ‘contain[s] wholly conclusory statements which lack

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the facts and circumstances from which a magistrate can independently determine probable
cause.”’ United States v. Pope, 467 F.3d 912, 920 (5th Cir. 2006) (citing United States v.
Satterwhl'te, 980 F.2d 317, 321 (5th Cir. 1992)). The remaining evidence in the affidavit would,
therefore, have established the necessary probable cause for the issuance of a search warrant

Because the search warrant was valid, the officers were lawfully present in the Drew
Street address at the time they allegedly witnessed Defendant throw down a plastic baggie and
run towards a back bedroom. Defendant’s arrest and the subsequent seizure of the revolver and
the contents of the baggie do not, therefore, constitute a violation of Defendant’s rights under the
Fourth and Fourteenth Amendments of the United States Constitution.2

B. Motion for Identification of Conf`idential Informant

The Court does not believe that Defendant has demonstrated that the identity of the Cl
should be revealed or that the Court should call the Cl for an in camera hearing to discuss the
details included in the search warrant affidavit

The Government has a “privilege to withhold from disclosure the identity of persons who
furnish information of violations of law to officers charged with enforcement of that law. The
purpose of the privilege is the furtherance and protection of the public interest in effective law
enforcement.” Roviaro v. United States, 353 U.S. 53, 60 (1957). The Court may require
disclosure of a CI’s identity, however, where such disclosure “is relevant and helpful to the
defense of an accused, or is essential to a fair determination of a cause.” ld. at 60-61, There is

no fixed rule:

 

2 Defendant also alleged in his Motion to Suppress that the officers failed to read him his Miranda rights before
questioning him. At a hearing on the pending Motion, Defendant failed to establish that the officers had actually
questioned him, except to ask for his name and/or other identifying information Nor did Defendant point to any
specific statements that should be suppressed The Government claimed that it did not intend to introduce any other
statements at trial obtained from Defendant during or immediately after the Drew Street search The Court therefore
declines to reach the question of whether the officers violated Defendant’s Fifth Amendment rights

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The problem is one that calls for balancing the public interest in protecting the

flow of information against the individual’s right to prepare his defense Whether

a proper balance renders nondisclosure erroneous must depend on the particular

circumstances of each case, taking into consideration the crime charged, the

possible defenses, the possible significance of the informer’s testimony, and other

relevant factors
Ia'. at 62. The Fi&h Circuit has clarified that the Court must consider: l) the degree of the CI’s
degree of involvement in the crime; 2) the extent to which disclosure is helpful to the defense;
and 3) the government’s interest in non-disclosure United States v. Orozco, 982 F,2d 152, 155-
56 (5th Cir. 1993) (noting that the district court’s decision to disclose the identity of an informant
is reviewed for abuse of discretion).

The Court may conduct an in camera hearing “when necessary to balance the conflicting
interests involved.” Orozco, 982 F.2d at 155. “This limited disclosure of identity to the trial
judge protects the government’s interest in maintaining anonymity while also insuring the
defendant’s interest in having access to any witness who possesses facts which would aid him in
his defense.” Ia'. A district court is not required to hold an in camera hearing “whenever the
defendant requests disclosure of the informant’s identity.” United Sz‘ates v. Cooper, 949 F.2d
73 7, 750 (5th Cir. 1991). The Fifth Circuit has ordered a district court to do so, however, where
the record was silent about the informer’s participation and the government’s interests in
resisting disclosure See United Stales v. Fischer, 531 F.2d 7 83, 7 87-88 (5th Cir. 197 6).
Ultimately, the district court has discretion in determining if an in camera hearing is needed See
United States v. Jackson, No. 95-20942, 1997 WL 73735, at *2 (5th Cir. Jan. 21, 1997)
(unpublished).

The Government argues that the CI did not witness, participate in, have discussions

about, or arrange meetings with the Defendant related to the crimes that form the basis of the

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indictment3 The CI was not present at the time the officers executed the search warrant
According to the Government, the CI therefore had no involvement in the actual crimes for
which the Defendant faces charges, and the Government will not rely on the information
provided by the CI in its case in chief. See Orozco, 982 F.2d at 155 (“If the informant’s
participation is minimal, the Roviaro balance favors nondisclosure.”).

The Government also argues that it has a strong interest in non-disclosure Officer
McPherson testified, for example, that it is particularly difficult to develop informants in the
Third Ward neighborhood of Houston, where the Drew Street residence is located He further
testified that disclosure of the CI’s identity would cause the officers to lose a trusted informant
who has been involved in a number of arrests Officer McPherson noted that Officer Cayton is
still using the CI. He added that disclosure also could result in serious retribution against the
informant4

Defendant maintains, on the other hand, that the CI’s observation of alleged transactions
at the Drew Street residence during the time surrounding the search warrant establishes that the
CI witnessed other individuals-but not Defendant_engage in drug trafficking activity. At a
hearing on the pending Motion to Suppress, Defendant also argued that disclosure of the CI or at
least an in camera hearing may be necessary to clarify whether the affidavit underlying the
search warrant contains false information

Given the CI’s lack of involvement in the crimes that form the basis of the current

indictment and the interests identified by the Government, the Court will not require the

 

3 Those charges include Possession of a Controlled Substance With Intent to Deliver; Possession of a Firearrn Dun`ng
a Drug Traiiicking Offense; and Felon in Possession of a Firearm. (See Indictment, Doc. No. 1.)

4 Although an in camera hearing may be necessary under certain circumstances to protect a defendant’s interests, the
Court notes that even an in camera hearing is not entirely without risk to a CI. See United States v. Thomas, 348
F.3d 7 8, 85 (5th Cir. 2003) (noting that an individual who made threats against a CI had been able to describe what
the CI was wearing at a prior in camera Roviaro hearing).

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Government to reveal the identity of the CI. Nor does the Court believe that an in camera
hearing is necessary to properly weigh the Roviaro factors Furthermore, because the Court finds
foicer McPherson’ s testimony credible and sufficient to establish that the search warrant was
based on probable cause, the Court will not conduct an in camera hearing with the CI to question
him or her regarding the facts alleged in Officer Cayton’ s affidavit
III. CONCLUSION

Defendant’s Motion to Suppress, Doc. No. 32, and Motion for Identification of
Confidential Informant, Doc. No. 22, are hereby DENIED.

IT IS SO ORDERED.

sIGNED this _/§Qday Ofiu1y, 2008.

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KEITH\P._ELLIs'oN
UNITED sTATEs DISTRICT JUDGE

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